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 NESENOFF ~ MILTENBERG,LLP
 GODDARD LAW,PGLC
 CHARNEY &WHEELER,LLP


                                  RETAINER AGREEMENT

                                      January 28, 2018

 VIA HAND DELIVERY
 Rosanna Mayo-Coleman


        Re;    Mavo-Coleman v. American Sugars Holdings Inc.. Index No:14-CV-0079

 Dear Rosanna:

        You have requested that Nesenoff & Miltenberg, I,LP and Goddard Law PLLC
(collectively "the Firms"), represent you in connection with the trial in the above referenced
matter(the "Litigation"). This agreement is limited thereto except that,this agreement does
not cover any handling of any appeal (whether as Appellant or Respondent) related to the
Litigation. To the extent any appeal should arise, you understand that you must enter into a
separate and mutually agareeable retainer agreement executed prior to the Firms making an
appearance on youx behalf in such appeal.

       You have authorized the Firms to retain trial counsel and you understand that the
Firms have retained the services of Charny &Wheeler, LLP as co-counsel for the trial.

       As we discussed, you should realize and understand that as with all matters, no
particular result can be guaranteed. Specifically, you acknowledge that we have made no
representations nor have we given any opinion, implied or otherwise, or suggested the.'
probable results of any litigation concerning this matter.

        It is essential that you understand that you are responsible for regular
communication to our office and that you timely provide complete and accurate information
throughout our representation of you. We will rely on this information and its timeliness in
performing legal services for you. We agree to keep you regularly informed in writing of the
status of this matter, and shall promptly send you copies of pertinent letters and other
documents as they become available. You agree to keep us fully and timely informed of any
developments which may impact upon this matter in any form,and you agree that you have
fully and honestly described the factual circumstances underlying this matter, whether
favorable or adverse to your position.



        You have agreed to pay us as compensation for our services herein as follows: In lieu
of the following normal hourly rate of $500 per hour for attorney time for Megan Goddard
and Nathaniel Charny and $350 for Gabrielle Vinci and $150 per hour for paralegal dime, you
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agree to pay the firm the greater of: (i) thirty three and one third (33.333%) percent of the
total gross amount of any recovery on your behalf by settlement, judgment or otherwise,
including any amounts recovered which are designated attorney's fees; or (ii) the amount
awarded as attorney's fees to be paid by the employer whether by settlement, judgment or
otherwise. You hereby authorize and direct us to receive, retain and disburse any such
settlement or judgment amount. Upon our receipt ofany settlement or judgment amount,
we are authorized and directed to retain our fee amount pursuant to the foregoing, as well
as retaining such sums as are necessary in order to pay any outstianding invoices and/or
expenses and/or disbursements. These costs, expenses and disbursements may include
and/or be relayed to experts, witnesses or outside professionals, court cosfis, service of
process, transcripts, printings, secretarial overtime and traveling. The balance o~ said
settlement or judgment amount shall be remitted to you.

       In the event that you receive anon-monetary but otherwise beneficial settlement, you
will pay us and we will be entitled to receive 33.333% of the value of the beneficial
settlement with costs, expenses and disbursements.

        YOU ARE RESPONSIBLE FQR LITIGATION COSTS AND EXPENSES REGARDLESS
 OF OUTCOME: Costs and expenses are defined and include, but are not limited to, the
following: All costs, expenses, disbursements and litigation expenses associated with this
 matter, including court ding fees, service of process charges, photocopy services, notary
fees, computer-assisted legal research, messenger and delivery fees, deposition costs,
litigation related travel expenses, investigation expenses, consultants' fees,: expert witness
related fees and expenses, trial preparation and rebated exhibit expenses,jury fees, reporter
fees, actual trial related expenses and other similar items. All costs and expenses will be
charged at our cost. You understiand that as indicated herein, you may be required to make
a deposit for costs(estimated or realized) before the expenditure is made by attorney. While
as a professional courtesy, attorney may advance certain costs on your behalf, on our
demand,you agree to pay far all actual and/or estimated costs,disbursements,and expenses.
You authorize attorney to incur all reasonable above-indicated costs at our sole good faith
discretion. In the event that an award of costs is sought on youar behalf in this action, you
understand that the amount which the court may order as costs is the amount the court
believes the party is entitled to recover, and does not necessarily determine or reflect what
costs attorney is entitled to charge its clients or that only the costs which were allowed were
reasonable. You agree that you remain responsible for the payment,in full, of alI attorneys'
fees and costs in connection with this matter and subject to the terms and conditions herein.
It is understood and agreed that no costs, other than routine court costs,
disbursements and expenses,wall be Yncurred without yaur express written approval.                -

       We hereby advise you of, and incorporate herein Section 1210.1 of the Joint Rules of
the Appellate Division (22NYCRR§§1210.1),as follows:

You are entitled to be treated with courtesy and consideration at all times byyour lawyer and
                    the other lawyers and personnel in your lawyer's office.
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You are entitled to an attorney capable ofhandling your legal matter competently and diligently,
in accordance with the highest standards ofthe profession. Ifyou are not satisfied with how your
 matter is being handled, you have the right to withdrawfrom the attorney-client relationship at
 any time (court approval may be required in some maters and your attorney may have a claim
       against youfor the value ofservices rendered to you up to the point ofdischarge).

    You are entitled to your lawyer's independentprofessionaljudgment and undivided loyalty
                              uncompromised by conflicts ofinterest.

  You are entitled to be charged a reasonable.fee and to have your lawyer explain at the outset
    how thefee will.be computed and the manner andfrequency ofbilling. You are entitled to
 request and receive a written itemized bill.frorrt your attorney at reasonable intervals. You may
    refuse to enter into anyfee arrangement that you~nd unsatisfactory. In the event ofafee
   dispute, you may have the right to seek arbitration; your attorney will provide you with the
 necessa~ information Yegarding arbitration in the event ofafee dispute, o~ upon your request.

  You are entitled to haveyour questions and concerns addressed In a prompt manner and to
                         have your telephone calls returned promptly.

  ~'ou are entitled to be kept informed as to the status o,fyour matter and to request and receive
      copzes ofpapers. You are entitled to sufficient information to allow you to participate
                           meaningfully in the development ofyour matter.

You are entitled to have your legitimate objectives respected by your attorney, including whether
    ar not to settle your matter (court approval of'a settlement is required in some matters).

  You have the right to privacy in your dealings with your lawyer and to have your secrets and
                      confidences preserved to the extent permitted by law.

You are entitled to have your attorney conduct himselfor herselfethically in accordance with the
                               Code ofProfessional Responsibility.

  You may not be refused representation on the basis o,f'race, creed, color, religion, -sex, sexual
                         orientation, age, national origin or disability.

      Please be advised that, as a matter of law, electronically stored information is an
important and irreplaceable source of discovery and/or evidence in any potential litigation.

       Consequently, we hereby request that you and any party acting under your direction
or control, either directly or indirectly in the preserve all information relating to the above-
referenced matter, including that information found in computer sysfiems, removable
electronic media, and other locations. This includes, but is not limited to, email and other
electronic communication, word processing documents,spreadsheets, databases, calendars
telephone logs, contact manager infoz°ma~ion, Internet usage logs, social networking data
under direct or indirect control and network access information.
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         You should also preserve the following platforms in your possession under your
 direct or indirect control: databases, networks, computer systems, including legacy system
 discs, drives,cartridges,and other storage media,laptops,personal computers,Internet data,
 personal digital assistants, handheld wireless devices, mobile telephones, paging devices,
 and audio systems (including voice mail).

        The laws and rules prohibiting destruction of evidence apply to electronically stored -
information in the same manner that they apply to other evidence. Due to its format,
electronic. information is easily deleted, modified or corrupted. Accordingly, you must take
every reasonable step to preserve this information until the final resolution of this matter.
This includes, but is not limited to, an obligation to: discontinue all data destruction and
backup-gape recycling policies; preserve and not dispose of relevant hardware txn~ess an
exact replica ofthe ale is made; preserve and not destroy passwords,decryption procedures,
network access codes,ID names,,manualsr tut~riais, written instructions,decom.pr~ssion and..
reconstruction software; and maintain all other pertinent information and tools needs to
access, view,revYew and reconstruct all requested or potential relevant electronic data.

        If at any time,in our sole and exclusive discretion, we believe the sum and substance
ofthese matters to be different than you have represented to us, or we otherwise determine
that we can no longer effectively act as counsel to you in this litigation, we reserve the right
to discontinue our representation and/or withdraw from these matters. We agree to keep
you regularly informed in writing ofthe status of your litigation,and shall prompfily send you
copies
of alb court documents and pertinent letters-and documents as they became available. You
agree to keep us fully and timely informed of any development s which may impact upon
these matters in any form,.. and.you agree that you have.fully and honestly described the.
factual circumstances underlying these matters, whether favorable or adverse to your
position.

        Further,in the event that a settlement offer is proffered or otherwise made, which in
our professional opinion is reasonable and fairly represents the probable outcome of these.
matters, and you fail or otherwise refuse to accept that offer, in contravention of our
professional advice,we reserve the right to discontinue our representation and/or withdraw
from the matter. It is your right ~o terminate our engagement at any time, with or without
cause. This will not impact upon any outstanding fees due and owing Nesenoff& Miltenberg,
LLP, Goddard Law, PLLC or Charny &Wheeler, or expenses incurred by us in the scope of
our representation off' you. In the event that you settle or compromise this matter, with or
without our assistance, we shall be entitled to our applicable contingency fee amount, based
upon the settlement amount. Our representation is specifically limited to the matter set forth
herein. In the event ghat it becomes necessary to enforce this agreement,then in addition to
all other damages, we shall be entitled to attorney's fees, whether ,fro se, or otherwise.

       Please confirm the foregoing by signing the enclosed counterpart of this letter where
indicated.
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                                      GODDARD LA ,PLLC

                                      By:      ~                ''-~
                                     Megan Goddard,a Partner


                                      CHARNY     W EEL R, L P          ,_

                                      By:                   ~
                                   Nathaniel Charny,a Partner

READ,UNDERSTOOD,
ACCEPTED AND AGREED T4:



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Rosa na Mayo-Coleman ~
